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     JOHN BALAZS, Bar No. 157287
 1
     Attorney at Law
 2   916 2nd Street, Suite F
     Sacramento, CA 95814
 3
     Telephone: (916) 447-9299
 4   Fax: (916) 557-1118
     john@balazslaw.com
 5

 6   Attorney for Defendant
     JEFFREY REILLEY
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10                           UNITED STATES DISTRICT COURT
11                          EASTERN DISTRICT OF CALIFORNIA
12

13
      UNITED STATES OF AMERICA,                   No. 2:17-CR-0053-JAM
14
                        Plaintiff,                ORDER TO SEAL
15                                                DOCUMENTS
              v.
16

17    JEFFREY REILLEY,

18                      Defendant.
19

20
              Upon application of the defendant Jeffrey Reilley, through counsel, and good
21
     cause being show as set forth in defendant’s notice of request to seal and request to
22
     seal,
23
              IT IS HEREBY ORDERED that Exhibits 2A and 2B to defendant’s July 16,
24
     2020 motion to reduce sentence shall be SEALED until ordered unsealed by the
25
     Court.
26
              Dated: July 16, 2020                        /s/ John A. Mendez
27                                                        Hon. John A. Mendez
28                                                        U.S. District Court Judge
